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 2   District of Nevada
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 6   E-Mail: allison.cheung@ssa.gov
 7   Attorneys for Defendant
 8

 9

10                                 UNITED STATES DISTRICT COURT
11                                         DISTRICT OF NEVADA
12   YVONNE VAVOUKAKIS,                         )
                                                )   Case No.: 2:20-cv-01469-CLB
13                 Plaintiff,                   )
                                                )   UNOPPOSED MOTION FOR EXTENSION OF
14          vs.                                 )   TIME TO FILE CERTIFIED
                                                )   ADMINISTRATIVE RECORD AND ANSWER;
15   ANDREW SAUL,                               )   DECLARATIONS OF JEBBY RASPUTNIS AND
     Commissioner of Social Security,           )   CHRISTIANNE VOEGELE
16                                              )
                   Defendant.                   )   (FIRST REQUEST)
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 1           Defendant, Andrew Saul, Commissioner of Social Security (the “Commissioner”), by and through
 2
     his undersigned attorneys, hereby moves for a sixty-day extension of time to file the Certified
 3
     Administrative Record (CAR) and answer to Plaintiff’s Complaint. The CAR and answer to Plaintiff’s
 4
     Complaint are due to be filed by November 16, 2020.
 5
             In light of the global COVID-19 pandemic, the Social Security Administration (“SSA” or the
 6

 7   “Agency”) has taken the unprecedented step of suspending in-office services to the public:

 8   https://www.ssa.gov/coronavirus/. The Agency is focusing on providing the most critical services by
 9   mail, phone and online to those most in need. SSA is also taking additional steps to protect its employees
10
     and help stop the spread of COVID-19, maximizing social distancing, including significantly limiting
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     employee access to SSA facilities for health and safety only and has moved toward a temporary virtual
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     work environment. Electronic processes allow some of SSA’s most critical work to continue with
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14   minimal interruption; other workloads have been suspended until the health crisis abates or the Agency is

15   able to create new electronic business processes.

16           For purposes of this particular case, the public health emergency pandemic has significantly
17   impacted operations in the Social Security Administration’s Office of Appellate Operations (OAO) in
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     Falls Church, Virginia. That office is responsible for physically producing the administrative record that
19
     is required to adjudicate the case under Sections 205(g) and (h) of the Social Security Act, 42 U.S.C.
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     § 405(g) and (h). See SSA Program Operations Manual System GN 03106.025, available at
21

22   https://secure.ssa.gov/apps10/poms.nsf/lnx/0203106025.

23           As detailed in the attached declarations, beginning March 16, 2020, OAO’s staff members began

24   to telework to protect employee health and prevent further spread of COVID-19. At that time, critical in-
25
     person physical tasks associated with preparing the administrative record could not be accomplished. For
26
     example, prior to the COVID-19 pandemic, to safeguard Personally Identifiable Information (PII), all


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 1   hearing recordings, which are part of the administrative record, were downloaded onto compact discs and
 2
     encrypted. OAO securely routed the encrypted discs to a private contractor through a daily pickup and
 3
     delivery service at the Official Duty Station (ODS) in Falls Church, Virginia. The private contractor
 4
     would transcribe the hearing recording and send the paper copy of the hearing transcript back to OAO.
 5
     OAO personnel would then scan the hearing transcript into the electronic record or place the hearing
 6

 7   transcript in the paper case file. Thereafter, OAO personnel would assemble the administrative record in

 8   a prescribed order.
 9           To ensure a continuity of operations, OAO has been actively pursuing mitigation efforts to allow
10
     the remote preparation of administrative records. For cases in which the private contractors were already
11
     in possession of hearing recordings for transcription, with the assistance of the Office of Acquisitions and
12
     Grants (OAG), OAO received approval to receive these transcripts from the private contractors via
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14   secured email, e.g., using password protection and redacted Social Security Numbers. In April 2020,

15   OAO began receiving such hearing transcripts from private contractors via secured email.

16           For cases in which OAO had not yet submitted recordings to the private contractors before March
17   16, 2020, OAO has been pursuing all available options to obtain transcriptions for these cases. In May
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     2020, OAO began encrypting hearing recordings and securely emailing them to the contractors for
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     transcription. Through the month of May, OAO and the contractors worked to resolve technical issues
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     that arose, particularly with large files. The process is functioning now, albeit at only half of normal
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22   productivity.

23           Given the volume of pending cases, Defendant requests an extension in which to respond to the

24   Complaint until January 15, 2021. If in sixty days the CAR is not prepared, the Commissioner will file a
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     status report with the Court as to when he expects the CAR to be completed.
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 1           On November 4, 2020, the undersigned conferred with Plaintiff’s counsel, who has no opposition
 2   to the requested extension.
 3           It is therefore respectfully requested that Defendant be granted an extension of time to file the CAR
 4   and answer to Plaintiff’s Complaint, through and including January 15, 2021.
 5

 6

 7           Dated: November 4, 2020
                                                           NICHOLAS A. TRUTANICH
 8                                                         United States Attorney
 9                                                         /s/ Allison J. Cheung
                                                           ALLISON J. CHEUNG
10                                                         Special Assistant United States Attorney
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                                                           IT IS SO ORDERED:
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17
                                                           UNITED STATES MAGISTRATE JUDGE
18
                                                                      November 5, 2020
                                                           DATED: ___________________________
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 1                                          CERTIFICATE OF SERVICE
 2
             I, the undersigned, am a citizen of the United States and am at least eighteen years of age. My
 3
     business address is 160 Spear Street, Suite 800, San Francisco, California 94105. I am not a party to the
 4
     above-entitled action. On the date set forth below, I caused service of UNOPPOSED MOTION FOR
 5
     EXTENSION OF TIME TO FILE CERTIFIED ADMINISTRATIVE RECORD AND ANSWER;
 6
     DECLARATIONS OF JEBBY RASPUTNIS AND CHRISTIANNE VOEGELE on the following
 7   parties by electronically filing the foregoing with the Clerk of the District Court using its ECF System,
 8   which provides electronic notice of the filing:
 9
             Marc Kalagian
10           marc.kalagian@rksslaw.com
             Attorney for Plaintiff
11
             Leonard Stone
12
             lstone@shookandstone.com
13           Attorney for Plaintiff

14   I declare under penalty of perjury that the foregoing is true and correct.
15
             Dated: November 4, 2020
16

17                                                         /s/ Allison J. Cheung
                                                           ALLISON J. CHEUNG
18                                                         Special Assistant United States Attorney
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                             DECLARATION OF JEBBY RASPUTNIS
                             OFFICE OF APPELLATE OPERATIONS
                             SOCIAL SECURITY ADMINISTRATION

I, JEBBY RASPUTNIS, Executive Director of the Social Security Administration’s Office of
Appellate Operations (OAO), declare and state as follows:

   1) My office is responsible for, among other things, preparing certified copies of

       administrative records (CARs) for Federal court review when claimants appeal the final

       decisions of the Commissioner of Social Security.

   2) Beginning in mid-March, the Social Security Administration restricted physical access to

       our buildings because of the COVID-19 pandemic. In order to protect the health and

       safety of our employees and our community, we have kept our employees on maximum

       telework, only authorizing limited in-office work since that time. The OAO’s office in

       Falls Church, Virginia – which is home to OAO’s Division of Civil Actions (DCA) – is

       included in this restriction. Prior to the pandemic, DCA staff worked out of the Falls

       Church office, with the support of three contracted transcription typing services, to

       complete CARs using a manual paper process.

       RECENT PROGRESS IN PRODUCING CARS

   3) After much work, we have redesigned our business processes to allow for a mostly

       virtual CAR preparation process. These new approaches required us to modify and test

       technology, retrain staff, and modify blanket purchasing agreements with the

       transcription typing services we rely on for transcripts of agency hearings. It has taken us

       some time and more than one try, but we now have a virtual process that has enabled us

       to ramp up our CAR production commensurate with the capacity of our transcription




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       typing services. In September, we processed 1,372 cases, and we are on track to process

       at least that same amount in October.

   4) The effects of the COVID-19 pandemic also resulted in staffing and processing problems

       for our transcript typing service contractors. These contractors are a necessary part of the

       CAR preparation process because the agency does not have staff to produce hearing

       transcripts. The agency is supporting its existing contractors in hiring new staff by

       expediting their suitability investigations and credentialing.

   5) We have historically only worked with three contracted transcript typing services, but in

       September 2020, we brought two additional contracts online. We are now working with

       five contracted transcription typing services.

   6) We are also continuously assessing staffing needs within our DCA branches. We have

       recently hired two additional branch chiefs and are hiring four additional Civil Actions

       Assistants to process our rising workload.

       CURRENT CHALLENGES

   7) Backlog: The backlog of work that built up during the past seven months is daunting. At

       the end of September, we had more than 8,700 new court cases waiting to be processed.

       Although we are now producing CARs at our pre-pandemic levels, the number of new

       complaints in the district courts has increased. In fiscal 2019, district court complaints

       filed against the agency averaged 1,440 per month. In the last three months, we received

       more than 2,000 new court cases each month. We publish quarterly workload information

       https://www.ssa.gov/appeals/DataSets/08_National_New_Court_Cases_and_Remands.ht

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   8) Prioritizing Cases Using the New Process: Due to our change to a new electronic

       processing system, our staff had difficulty separating the oldest cases from the newer

       cases when transmitting audio files to the contracted transcription typing services.

       Although we now have an organizational system to identify older cases for processing by

       our contract typing services, each contractor works at a different speed based on their

       individual staffing challenges. As our organization system continues to improve the

       processing order, we expect that disparities between case filing dates and CAR

       completion dates will decrease. We continue to focus our efforts on processing the most

       aged cases.

   9) Capacity of Contracted Transcription Typing Services: Despite our best efforts to assist,

       the pandemic has adversely impacted the contractors’ capacity to perform their

       transcription services. We have been working with the existing contractors to increase

       their capacity, and have effectuated two new contracts. However, our contractors have

       finite capacity to deliver hearing transcripts. The pandemic’s impact on the contractors’

       workforce remains outside of our control.

   10) Overall, the timeframe for delivering a CAR in any individual case has improved.

       Although we remain subject to some constraints, we continue to work on increasing

       productivity to the best of our ability. We ask for continued patience as we work to

       increase our production of CARs, and address rising court case filings.

   In accordance with 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing is

   true and correct to the best of my knowledge and belief.



   Dated October 21, 2020                    /s/ ____
                                             ______________________________
                                                   ___________
                                                            _ ______________
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                         DECLARATION OF CHRISTIANNE VOEGELE
                           OFFICE OF APPELLATE OPERATIONS
                           SOCIAL SECURITY ADMINISTRATION

       I, CHRISTIANNE VOEGELE, Chief of Court Case Preparation and Review Branch 1,

and Acting Chief of Court Case Preparation and Review Branch 3, of the Social Security

Administration’s Office of Appellate Operations (OAO), declare and state as follows:


       (1)     Under direct delegation from the Commissioner of Social Security, the Office of

Hearings Operations (OHO) administers a nationwide hearings program, and OAO administers a

nationwide appeals program. OHO includes the Administrative Law Judges who hold hearings

on claims arising under Titles II and XVI of the Social Security Act, as amended, when a

claimant who is dissatisfied with their administrative determination requests a hearing. OAO

includes the Appeals Council, which reviews claims when a claimant is dissatisfied with the

decision rendered by an Administrative Law Judge. OAO also provides professional and

technical advice to the Deputy Commissioner and Administrative Appeals Judges of the Appeals

Council in the processing of cases in which a claimant has filed a civil action.


       (2)     One function of the Appeals Council is to act on requests for review of hearing

decisions made by Administrative Law Judges and to either grant, deny or dismiss any such

request. Under the regulations of the Social Security Administration, if the Appeals Council

denies a timely request for review of a hearing decision, that hearing decision becomes the “final

decision” within the meaning of, and subject to, the provisions for judicial review in section

205(g) of the Social Security Act, as amended (42 U.S.C. section 405(g)). The first sentence of

that section reads as follows:

       “Any individual, after any final decision of the Commissioner made after a
       hearing to which he was a party, irrespective of the amount in controversy, may



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       obtain a review of such decision by a civil action commenced within sixty days
       after the mailing to him of notice of such decision or within such further time as
       the Commissioner may allow.***”

       (3)       I am responsible for the processing of claims under Titles II and XVI of the Social

Security Act, as amended, whenever a civil action has been filed in the Fourth, Sixth, Seventh,

Ninth, Eleventh, and District of Columbia judicial circuits. As described below, OAO’s business

processes are true to the best of my knowledge and belief.

       a) If a civil action is properly commenced, the third sentence of 42 U.S.C. 405(g) states

             the following: “As part of the Commissioner’s answer[,] the Commissioner shall file

             a certified copy of the transcript of the record including the evidence upon which the

             findings and decision complained of are based.” On behalf of the Commissioner of

             the Social Security Administration, OAO personnel are responsible for preparing a

             certified copy of the transcript of the record.

       b) Upon notification of the civil action by the U.S. Attorney’s Office or the Social

             Security Administration’s Office of General Counsel, OAO personnel must locate

             and retrieve the plaintiff’s claim(s) file, which is in either a paper or electronic

             format. The file contains both evidentiary and procedural documents, and the

             recording of any hearing held before an Administrative Law Judge.

       c) Upon locating the file, OAO personnel determines if the claimant timely filed the

             civil action and, if so, routes the recording of the hearing to a private contractor for

             transcription.

       d) Historically and prior to the COVID-19 pandemic, to safeguard Personally

             Identifiable Information (PII), all hearing recordings were downloaded onto compact

             discs, and these discs were encrypted. OAO securely routed the encrypted discs to a




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   private contractor through a daily pickup and delivery service at the Official Duty

   Station (ODS) in Falls Church, Virginia. The contractor is responsible for all tasks

   necessary for transcription typing services. It is estimated that an average hearing

   lasts 45 minutes and results in an average of 33 pages of transcript. Each transcript

   contains a certification statement by a transcriber and proofreader. Transcription of a

   hearing recording can take up to 20 business days, but is generally transcribed in 5-10

   business days. After the contractor transcribed the hearing recording, a paper copy of

   the hearing transcript was sent back via a delivery service to the ODS in Falls Church,

   Virginia. OAO personnel would then scan the hearing transcript into the electronic

   record or place the hearing transcript in the paper case file. Thereafter, OAO

   personnel would assemble the administrative record in a prescribed order.

e) Most cases are adjudicated using the Social Security Administration’s Electronic

   Disability Collect System (EDCS). Even using EDCS, most cases historically

   required physical, in-house scanning and uploading of hearing transcripts. This work

   was performed at the ODS.

f) Even for cases using EDCS that are in electronic format, many jurisdictions require

   encrypted compact discs and paper copies of the certified administrative record. All

   paper copies are produced at the ODS, and all compact discs and paper copies are

   shipped via United States Parcel Service from the ODS.

g) Due to the COVID-19 pandemic, OAO staff are not currently authorized to report to

   the office due to health and safety concerns. On or about March 16, 2020, OAO

   began working remotely. Consequently, OAO had been unable to complete certified

   administrative records on any cases that required in-office work at the ODS,




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   including any cases in which the transcript(s) of the hearing recording(s) had not

   already been uploaded to the electronic file.

h) To ensure a continuity of operations, OAO has been actively pursuing mitigation

   efforts to allow the remote preparation of as many administrative records as possible.

       a. For cases in which the private contractors were already in possession of

           hearing recordings for transcription, with the assistance of the Office of

           Acquisitions and Grants (OAG), OAO received approval to receive these

           transcripts from the private contractors via secured email, e.g., using password

           protection and redacted Social Security Numbers. In April 2020, OAO began

           receiving such hearing transcripts from private contractors via secured email.

       b. Subsequently, OAO consulted with OAG and the Office of the General

           Counsel, and obtained approval for a new process to replace encrypted

           compact discs. In May 2020, OAO began encrypting hearing recordings and

           securely emailing them to the contractors for transcription. Through the

           month of May, OAO and the contractors worked to resolve technical issues

           that arose, particularly with large files. The process is functioning now, albeit

           at a fraction of normal productivity.

i) OAO plans to continue to explore all options available to complete the preparation of

   certified electronic records during the COVID-19 pandemic.

j) OAO generally prioritizes the preparation of the certified administrative records

   based on receipt dates, with the oldest receipt dates processed first. OAO will work

   to ensure the oldest pending cases, including court remands and final decisions, are

   given priority processing.




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In accordance with 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.




-XQH
__________________                           ________________________________________
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                                                             ______
Date                                         CHRISTIANNE VOEGELE
                                                             VO
                                                             V OEGE
